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                       UNITED STATES DISTRICT COURT                          JS-6
                      CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES – GENERAL

  Case No. SA CV 20-00654-DOC-KES                                Date: January 12, 2021

 Title: ARIFUR RAHMAN V. MARRIOTT INTERNATIONAL, INC. ET AL


 PRESENT:

                   THE HONORABLE DAVID O. CARTER, JUDGE

                Kelly Davis                                  Not Present
              Courtroom Clerk                               Court Reporter

        ATTORNEYS PRESENT FOR                      ATTORNEYS PRESENT FOR
              PLAINTIFF:                                DEFENDANT:
             None Present                                None Present



        PROCEEDINGS (IN CHAMBERS): ORDER GRANTING MOTION TO
                                   DISMISS [24]

       Before the Court is Defendant Marriott International, Inc.’s (“Defendant”) Motion
 to Dismiss (“Motion”) (Dkt. 24). The Court finds this matter suitable for resolution
 without oral argument. Fed. R. Civ. P. 78; C.D. Cal. R. 7-15. Having reviewed the
 moving papers and considered the parties’ arguments, the Court GRANTS the Motion
 and hereby dismisses the case.

   I.    Background

        Plaintiff Arifur Rahman (“Plaintiff”) alleges six causes of action: negligence,
 violation of the California Consumer Privacy Act, breach of contract, breach of implied
 contract, unjust enrichment, and violation of the California Unfair Competition Law.
 Compl. (Dkt. 1). Plaintiff alleges that class members were victims of a cybersecurity
 breach at Marriott when two employees of a Marriott franchise in Russia accessed class
 members’ names, addresses, phone numbers, email addresses, genders, birth dates, and
 loyalty account numbers without authorization. Id. at ¶ 1; FAC ¶ 31. Marriot admitted to
 the breach on March 31, 2020 and sent emails to class members apologizing for the error
 and confirming that their personal information was compromised. Id. at ¶ 30–39. Having
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 now completed its investigation into the unauthorized access, Marriot has confirmed that
 while names, addresses, and other publicly available information was obtained in the
 breach, no sensitive information, such as social security numbers, credit card information,
 or passwords, was compromised. Mot. at 3.

           a. Procedural History

        On April 3, 2020, Plaintiffs filed the complaint (Dkt. 1). Defendants filed the
 instant Motion on September 21, 2020 (Dkt. 24). Plaintiffs opposed the Motion on
 October 23, 2020 (“Opp’n”) (Dkt. 26), and Defendants filed a Reply on November 9,
 2020 (Dkt. 28).

  II.   Discussion

        Dismissal is appropriate under Federal Rule of Civil Procedure 12(b)(1) when a
 court lacks subject matter jurisdiction due to a plaintiff's lack of Article III standing.
 White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000); see also Maya v. Centex Corp., 658
 F.3d 1060, 1067 (9th Cir. 2011) (noting that Article III standing bears on the court's
 subject matter jurisdiction and is therefore subject to challenge under Federal Rule of
 Civil Procedure 12(b)(1)).

         The “irreducible constitutional minimum” of Article III standing contains three
 elements. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). First, the plaintiff
 must have suffered an “injury in fact”—an invasion of a legally protected interest which
 is (a) concrete and particularized, and (b) actual or imminent, not conjectural or
 hypothetical. Id.; see also Spokeo v. Robins, 136 S. Ct. 1540, 1548–49 (2016). Second,
 there must be a causal connection between the injury and the conduct complained of—the
 injury has to be fairly traceable to the challenged action of the defendant, and not the
 result of the independent action of some third party not before the court. Lujan, 504 U.S.
 at 560. Third, it must be likely, as opposed to merely speculative, that the injury will be
 redressed by a favorable decision. Id. Ultimately, the plaintiff, as the party invoking
 federal jurisdiction, has the burden of establishing these elements. See id. at 561.

        Under Rule 12(b)(1), a defendant may also move to dismiss a case for a lack of
 subject matter jurisdiction when it is not clear that the proper jurisdictional requirements
 have been met. See Fed. R. Civ. P. 12(b)(1). Federal district courts generally have subject
 matter jurisdiction over civil cases through diversity jurisdiction, 28 U.S.C. § 1332, or
 federal question jurisdiction, 28 U.S.C. § 1331. See Peralta v. Hispanic Bus., Inc., 419
 F.3d 1064, 1068 (9th Cir. 2005).
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        Defendant’s primary argument with respect to standing is that, although Plaintiff
 may have suffered some degree of unauthorized access of their personal information, the
 information obtained lacks the degree of sensitivity required by the Ninth Circuit to
 establish injury in fact. Mot. at 4–5. Plaintiff argues that data sensitivity is not required to
 prove standing and that, to the extent that Ninth Circuit does require data sensitivity to
 establish injury in fact, “the possibility that [sensitive] information belonging to Plaintiffs
 has been compromised cannot…be ruled out at this stage” due to the fact that Marriott
 “admitted in its notification to affected customers that its investigation is ‘ongoing.’”
 Opp’n at 7–8. Here, Plaintiff’s argument is moot, since the investigation has concluded
 and no evidence of unauthorized access of sensitive information was found. Mot. at 3.
 Thus, in order for Plaintiff’s claims to survive Defendant’s motion, the unauthorized
 access of personal information on its own, without the access of further sensitive
 information, must be sufficient to establish injury in fact.

         Unfortunately for Plaintiff, Ninth Circuit precedent is relatively clear on this point.
 “The sensitivity of the personal information, combined with its theft” are prerequisites to
 finding that plaintiffs “adequately alleged an injury in fact.” In re Zappos.com, Inc., No.
 2357, 2016 WL 2637810 (D. Nev. May 6, 2016), rev’d on other grounds, 888 F.3d 1020
 (9th Cir. 2018), cert. denied, 139 S. Ct. 1373 (2019). District courts in the Ninth Circuit
 have been even more explicit. In Antman v. Uber Technologies, Inc., the Northern
 District of California wrote that “[w]ithout a hack of information such as social security
 numbers, account numbers, or credit card numbers, there is no … credible risk of identity
 theft that risks real, immediate injury.” Antman v. Uber Technologies, Inc., No. 15-CV-
 01175, 2018 WL 2151231 at *10 (N.D. Cal. May 10, 2018). Similarly, the Southern
 District of California has written that that “Plaintiffs’ failure to allege that the exposed
 information included their social security numbers, or similarly sensitive financial or
 account information …, leaves Plaintiffs short of what is required.” Stasi v. Inmediata
 Health Grp. Corp., No. 19-CV-2353, 2020 WL 2126317 at *5 (S.D. Cal. May 5, 2020).
 Like in those cases, Plaintiff has not plausibly pled here that any of their more sensitive
 data—such as credit card information, passports, or social security numbers—has fallen
 into the wrong hands. Without a breach of this type of sensitive information, Plaintiff has
 not suffered an injury in fact and cannot meet the constitutional requirements of standing.

          While Plaintiff cites to one case, Adkins v. Facebook, Inc., 424 F. Supp. 3d 686
 (N.D. Cal 2019), in which the Court found standing despite no social security or credit
 card numbers being taken in the hack, this case is easily distinguishable on the grounds
 that it involved not just basic personal information, but also “a constellation of social-
 media data including ‘workplace, education, relationship status, religious views,
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 hometown, self-reported current city’” and so on. Id. at 690–91; Mot. at 6. The Court is
 similarly unmoved by Plaintiff’s creative but unsubstantiated arguments that the value of
 their personal information has diminished as a result of the breach or that Plaintiff should
 be compensated for their mitigation costs. As the Supreme Court has said, “mitigation
 costs … rise and fall together” with claims based on the risk of future harm. Clapper, 568
 U.S. at 402.

        Because the Court finds that the Plaintiff lacks standing to sue, it need not
 consider Defendant’s Rule 12(b)(6) argument regarding the sufficiency of Plaintiff’s
 pleadings. Even in Plaintiff’s allegations satisfied the heightened pleading standard in
 Twombly and Iqbal, Plaintiff cannot sue without suffering an injury in fact.

 III.   Disposition

       For the reasons stated above, the Court GRANTS Defendants’ Motion to Dismiss.
 The Clerk shall serve this minute order on the parties.




  MINUTES FORM 11                                                     Initials of Deputy Clerk:
  CIVIL-GEN                                                           kd
